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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW HAMPSHIRE

In re:                                                   Chapter 7
BARON, CASSANDRA                                         Case No: 19-10329 BAH



          Debtor(s)

    NOTICE OF WITHDRAWAL OF TRUSTEE’S REPORT OF NO DISTRIBUTION

          Steven M. Notinger, Chapter 7 Trustee for the above-referenced estate hereby

WITHDRAWS the Trustee’s Report of No Distribution filed on April 2, 2019 as the First

Secured Lienholder for the real property located in Rumney, New Hampshire will grant the

Trustee a carve-out from the proceeds of the sale of the property for the benefit of the bankruptcy

estate.



                                                  Respectfully Submitted,
                                                  Steven M. Notinger
                                                  Chapter 7 Trustee

April 4, 2019                                     /s/ Steven M. Notinger
                                                  Steven M. Notinger (03229)
                                                  Notinger Law, PLLC
                                                  7A Taggart Drive
                                                  Nashua NH 03060
                                                  603-417-2158




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